                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   GREENEVILLE

 KATERI LYNEE DAHL,               ]
                                  ]
       Plaintiff,                 ]
                                  ]
 v.                               ]              No. 2:22-cv-00072-KAC-CRW
                                  ]
 CHIEF KARL TURNER, and           ]
 CITY OF JOHNSON CITY, TENNESSEE, ]
                                  ]
       Defendants.                ]

                        SEE NOTICE OF MANUAL FILING –
                    RECORDING OF DECEMBER 8, 2020 MEETING

        Marked thumb drive containing audio recording of December 8, 2020 Meeting, filed by

 Johnson City.




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